Case 09-16581   Doc 1   Filed 07/13/09 Entered 07/13/09 17:56:41   Desc Main
                           Document    Page 1 of 7
Case 09-16581   Doc 1   Filed 07/13/09 Entered 07/13/09 17:56:41   Desc Main
                           Document    Page 2 of 7
Case 09-16581   Doc 1   Filed 07/13/09 Entered 07/13/09 17:56:41   Desc Main
                           Document    Page 3 of 7
Case 09-16581   Doc 1   Filed 07/13/09 Entered 07/13/09 17:56:41   Desc Main
                           Document    Page 4 of 7
Case 09-16581   Doc 1   Filed 07/13/09 Entered 07/13/09 17:56:41   Desc Main
                           Document    Page 5 of 7
Case 09-16581   Doc 1   Filed 07/13/09 Entered 07/13/09 17:56:41   Desc Main
                           Document    Page 6 of 7
Case 09-16581   Doc 1   Filed 07/13/09 Entered 07/13/09 17:56:41   Desc Main
                           Document    Page 7 of 7
